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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION

IN RE:

 RALPH L. SANDERS

                                                    CASE NO.: 14-BK-12147-JKO

                                                    CHAPTER: 13


      Debtor.
__________________________/

               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

         COMES NOW ALBERTELLI LAW, attorneys for The Bank of New York Mellon,
f/k/a The Bank of New York, successor in interest to JPMorgan Chase Bank, N.A. as
Trustee for Bear Stearns Asset Backed Securities Trust 2006-SD2, and hereby enters its
Notice of Appearance in the above-styled action. In accordance with Rule 2002 of the
Bankruptcy Rules the undersigned requests notice for the following notice in this case.

   •     Property Address: 561 SW 60 Ave, Plantation, FL 333173947

   •     Last Four Digits of Loan Number: 9122



    The undersigned respectfully requests the following to be added to the Court’s Mailing Matrix
in according to Rule 2002(g):



                                       Austin Noel, Esq.
                                        Albertelli Law
                                 Attorney for Secured Creditor
                                         PO Box 23028
                                       Tampa, FL 33623
                              Telephone: (813) 221-4743 ext. 2522
                                   Facsimile: (813) 221-9171
                                    bkfl@albertellilaw.com
                                    Florida Bar No: 106539
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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 7th Day of August, 2014, I served a copy of the
foregoing upon:


SERVICE LIST

Ralph L. Sanders
561 SW 60 Ave.
Plantation, FL 33317

Robert J Bigge Jr., Esq
915 Middle River Drive Suite 401
Fort Lauderdale, FL 33304

Robin R Weiner
POB 559007
Fort Lauderdale, FL 33355




                                                  Austin Noel, Esq.
                                                  Albertelli Law
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                                                  Tampa, FL 33623
                                                  Telephone: (813) 221-4743 ext. 2522
                                                  Facsimile: (813) 221-9171
                                                  bkfl@albertellilaw.com

                                                  By: /s/ Austin Noel
                                                  Austin Noel
                                                  Florida Bar No: 106539
